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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

PerDiemCo LLC,

                        Plaintiff,                  Civil Action No.:

        v.

NexTraq LLC,                                        JURY TRIAL DEMANDED
                        Defendant.


                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff PerDiemCo LLC (“PerDiem” or “Plaintiff”), for its Complaint against Defendant

NexTraq LLC, (“NexTraq” or “Defendant”) alleges the following:

                                     NATURE OF THE ACTION

   1.        This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq., involving infringement of certain claims of patents identified by

United States Patent Nos. 9,680,941 (“the ’941 patent”, Exhibit A); 9,871,874 (“the ’874 patent”,

Exhibit B); 10,021,198 (“the ’198 patent”, Exhibit C); 10,397,789 (“the ’789 patent”, Exhibit D);

10,602,364 (“the ’364 patent”, Exhibit E); 10,819,809 (the ‘809 patent, Exhibit F) and 11,064,038

(the ‘038 patent, Exhibit G) (collectively “the Patents-in-Suit”). Herein, the asserted claims of the

Patents-in-Suit are referred to as “Asserted Claims.”

                                          THE PARTIES

   2.        Plaintiff PerDiem is a limited liability company organized under the laws of the State

of Texas with a place of business at 505 East Travis Street, Suite 205, Marshall, Texas 75670.

   3.        PerDiem is the current assignee of each and all of the Patents-in-Suit.



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   4.       On information and belief, Defendant NexTraq is a limited liability company organized

and existing under the laws of the State of Delaware with its principal place of business at 1200

Lake Hearn Drive, Suite 500, Atlanta, Georgia 30319.

   5.       NexTraq does business in the Northern District of Georgia and nationally through the

sale and servicing of its mobile communications products and technology in the transportation

industry.

   6.       NexTraq conducts business in this District at its corporate headquarters, located at 1200

Lake Hearn Drive, Suite 500, Atlanta, Georgia 30319 ("NexTraq's Physical Location").

   7.       NexTraq’s Physical Location is a fixed physical location located within this District.

   8.       NexTraq’s Physical Location is a location that represents a regular and established

place of business for NexTraq.

   9.       Upon information and belief, NexTraq is the owner and/or lessee of NexTraq’s

Physical Location.

   10.      Upon information and belief, NexTraq is in possession of and has control over,

NexTraq’s Physical Location.

   11.      Upon information and belief, NexTraq has employees in Georgia and employs Georgia

residents within the Northern District of Georgia.

   12.      NexTraq also does business in the Northern District of Georgia and nationally through

its website—www.nextraq.com.

                                 JURISDICTION AND VENUE


   13.      This is an action for patent infringement arising under the Patent Laws of the United

States, Title 35 of the United States Code.

   14.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
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    15.     This Court has personal jurisdiction over NexTraq. NexTraq’s actions establish such

minimum contacts that jurisdiction comports with the Georgia longarm statute, O.C.G.A. § 9-10-

91, and the United States Constitution.

    16.     Upon information and belief, NexTraq has conducted and does conduct business within

the State of Georgia and maintains a regular and established place of business in the Northern

District of Georgia, including but not limited to NexTraq’s Physical Location

    17.     Upon information and belief, NexTraq, directly and/or through subsidiaries or

intermediaries, ships, distributes, offers for sale, sells, and/or advertises (including through its web

pages) its products and services (including infringing products and services) described herein

within this District.

    18.     Upon information and belief, NexTraq has committed acts of patent infringement

within this District.

    19.     Upon information and belief, NexTraq has contributed to or induced (instructing and

supplying others with infringing products and instructions for use) patent infringement by others

in this District.

    20.     NexTraq has purposefully and voluntarily placed one or more infringing products into

the stream of commerce with the expectation that it will be purchased and used by consumers in

the Northern District of Georgia.

    21.     Upon information and belief, NexTraq has committed acts of patent infringement

within the State of Georgia and, more particularly, within the Northern District of Georgia.

    22.     Venue is proper within this District under 28 U.S.C. § 1400(b) because, on information

and belief, NexTraq maintains its corporate headquarters in this District and has committed

infringing acts in this District. These infringing acts include at least its sales of the Accused

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Instrumentalities in this District and also under 28 U.S.C. § 1391(b)(2) because NexTraq sells and

offers to sell products and services throughout the United States, including in this District, and

introduces its products and services into the stream of commerce and effectuates these sales

knowing that the products and services would be sold and used in this District and elsewhere in

the United States.

    23.      Venue is also proper in this District because it is the most convenient forum for the

parties.

                         THE TECHNOLOGY AND THE PATENTS-IN-SUIT

    24.      Darrell Diem, the inventor of the Patents-in-Suit, served in the Air Force for four years

as an electronics technician. After being honorably discharged, Mr. Diem worked his way through

college to earn degrees in physics and mathematics from Marquette University. Mr. Diem also

obtained a Master of Business Administration from Michigan State University, and a Master of

Arts in Pastoral Ministries from St. Thomas University, Miami, Florida. Mr. Diem has worked

for Motorola, Harris Corporation, Time Domain, and other leading technology companies.

    25.      Mr. Diem conceived the inventions in the Patents-in-Suit when his daughter’s car broke

down on a long road trip. Mr. Diem wanted to convey location information for his daughter in an

efficient way that would still protect her privacy. Mr. Diem’s inventions have a broad range of

significant applications and are widely used today.

    26.      Each of the asserted patents is valid and enforceable.

    27.      PerDiem is the exclusive owner of all right, title, and interest in each of the asserted

patents. PerDiem has the right to bring this action to recover damages for any current or past

infringement of these patents. Plaintiff PerDiem has never granted Defendant NexTraq a license

to practice any of the Patents-in-Suit.

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     28.     The ’941 patent, entitled “Location Tracking System Conveying Event Information

Based on Administrator Authorizations,” was duly and legally issued by the United States Patent

and Trademark Office on June 13, 2017. A copy of the ’941 patent is attached hereto as Exhibit

A.

     29.     The ’874 patent, entitled “A Multi-Level Database Management System and Method

for an Object Tracking Service That Protects User Privacy,” was duly and legally issued by the

United States Patent and Trademark Office on January 16, 2018. A copy of the ’874 patent is

attached hereto as Exhibit B.

     30.     The ’198 patent, entitled “Software-Based Mobile Tracking Service with Video

Streaming When Events Occur,” was duly and legally issued by the United States Patent and

Trademark Office on July 10, 2018. A copy of the ’198 patent is attached hereto as Exhibit C.

     31.     The ’789 patent, entitled, “Method for Controlling Conveyance of Event Information

About Carriers of Mobile Device Based on Location Information Received from Location

Information Sources Used by the Mobile Devices,” was duly and legally issued by the United

States Patent and Trademark Office on August 27, 2019. A copy of the ’789 patent is attached

hereto as Exhibit D.

     32.     The ’364 patent, entitled, “Method for Conveyance of Event Information to Individuals

Interested Devices Having Phone Numbers,” was duly and legally issued by the United States

Patent and Trademark Office on March 24, 2020. A copy of the ’364 patent is attached hereto as

Exhibit E.

     33.     The ’809 patent, entitled “Method for Controlling Conveyance Of Event Notifications

in Sub-Groups Defined Within Groups Based on Multiple Levels Of Administrative Privilege,”




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was duly and legally issued by the United States Patent and Trademark Office on October 27,

2020. A copy of the ’364 patent is attached hereto as Exhibit F.

   34.       The ’038 patent, entitled, “Method for Tracking Mobile Objects Based on Event

Conditions Met at Mobile Object Locations”, was duly and legally issued by the United States

Patent and Trademark Office on July 13, 2021. A copy of the ’364 patent is attached hereto as

Exhibit G.

   35.       The Asserted Claims are patentable under 35 U.S.C. §§ 101, 102, 103, and 112, as

confirmed because multiple Patent Examiners agreed and allowed the Patents-in-Suit over

extensive prior art as disclosed and of record during the prosecution of the Patents-in-Suit. See

Stone Basket Innov. v. Cook Med., 892 F.3d 1175, 1179 (Fed. Cir. 2018) (“when prior art is listed

on the face of a patent, the examiner is presumed to have considered it”) (citing Shire LLC v.

Amneal Pharm., LLC, 802 F.3d 1301, 1307 (Fed. Cir. 2015)); Exmark Mfg. v. Briggs & Stratton,

879 F.3d 1332, 1342 (Fed. Cir. 2018).

   36.       After giving full proper credit to the prior art and having conducted a thorough search

for all relevant art and having fully considered the most relevant art known at the time, the United

States Patent Examiners allowed all of the claims of the Patents-in-Suit to issue. In so doing, it is

presumed that Examiners used their knowledge of the art when examining the claims. See K/S

Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed

that Patent Examiners had experience in the field of the invention and that the Patent Examiners

properly acted in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338,

1345 (Fed. Cir. 2002).

   37.       The claims of the Patents-in-Suit are novel and non-obvious, including overall non-

cited art that is merely cumulative with the referenced and cited prior art. See 37 C.F.R. § 1.56(b)

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(information is material to patentability when it is not cumulative to information already of record

in the application); see also AbbVie Deutschland GmbH v. Janssen Biotech, 759 F.3d 1285, 1304

(Fed. Cir. 2014); In re DBC, 545 F.3d 1373, 1382 (Fed. Cir. 2008). Likewise, the claims of the

Patents-in-Suit are novel and non-obvious, including overall non-cited contemporaneous state-of-

the-art systems and methods, all of which would have been known to a person of ordinary skill in

the art, and which were therefore presumptively also known and considered by the Examiners.

See, e.g., St. Clair I.P. Consultants v. Canon, Inc., 2011 WL 66166 at *6 (Fed. Cir. 2011); In re

Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002); In re Koninklijke Philips Patent Litigation,

2020 WL 7392868 at *19 (N.D. Cal. 2020); Standard Oil v. American Cyanamid, 774 F.2d 448,

454 (Fed. Cir. 1985) (persons of ordinary skill are presumed to be aware of all pertinent prior art.

   38.     The claims of the Patents-in-Suit are entitled to the presumption of validity under

35 U.S.C. § 282.

   39.     Now with knowledge of the Patents-in-Suit, Defendant induces infringement under

Title 35 U.S.C. § 271(b). Defendant will have performed actions that induced infringing acts that

Defendant knew or should have known would induce actual infringements. See Manville Sales

Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp. v.

JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of

inducement requires a threshold finding of direct infringement—either a finding of specific

instances of direct infringement or a finding that the accused products necessarily infringe.” Ricoh,

550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313,

(Fed. Cir. 2007).

   40.     Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element.

See Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

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may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850 F.2d

660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not required;

rather, circumstantial evidence may suffice.”).

   41.     Defendant has taken active steps to induce infringement, such as advertising an

infringing use, which supports a finding of an intention for the accused product to be used in an

infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932,

125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine

“was devised to identify instances in which it may be presumed from distribution of an article in

commerce that the distributor intended the article to be used to infringe another’s patent, and so

may justly be held liable for that infringement”).

                                    PERDIEM’S PATENTS

   42.     The inventions claimed in the Patents-in-Suit represent improvements to location

tracking systems. More specifically, the claims of the geofencing patents are directed to, in part,

improved location tracking systems and related methods. The system may track locations of a

plurality of mobile objects or devices in a network employed to provide a tracking service that

sends notifications or alerts after group event conditions which are based on locations of grouped

tracked objects are met.

   43.     Group event conditions may relate to mobile object/device locations and a zone where

the occurrence of an event causes an alert/notification to be sent when grouped vehicles equipped

with GPS devices cross a boundary.

   44.     The claimed inventions provide improvements over conventional networks by

providing a reliable and efficient way for the service subscribers to track objects and convey the

notifications to authorized recipients. The claimed inventions provide these benefits, in part, by

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creating multiple levels of administrative privileges and applying multiple levels of access control

by checking the privileges.

   45.       In one embodiment, the multiple levels of administrative privileges include a first level

of administrative privilege used by a system administrator of the tracking service for controlling

user membership in groups specified by the administrator and a second level of privilege being

assigned to a second administrator, e.g., a service subscriber, in each group by the system

administer for controlling conveyance of the notifications in the corresponding group such that the

administrator having the first level of administrative privilege does not exercise the second level

of administrative privilege.

   46.       Under this structure, the second administrator has control over who receives the

notifications in the group independent of the system administrator and second administrators of

other groups. Interfaces may be provided to the second administrator allow for setting event

conditions and alert/notifications for the group.

   47.       As this embodiment is claimed, a first level of access control is used to allow the second

administrator to specify an event condition, i.e. a geo-fence, for the group and specify an access

list such that only identified authorized users on the access list can receive the notification

information, thereby providing enhanced privacy. A second level of access control is used to allow

authorized            recipients         to          access           the         notifications/alerts.




                       PERDIEM’S CLAIMS ARE PATENT ELIGIBLE

   48.       The claims in the Patents-in-Suit are directed to patent-eligible subject matter.




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    49.     The Patents-in-Suit are directed to providing unconventional computing solutions that

address problems that are particular to computerized location tracking systems.

    50.     The systems, devices and methods of the Patents-in-Suit claim establishing object

location events that may be defined at an application or user level. (See, e.g., ’941 patent at 2:11-

15.) The systems, devices and methods and of the Asserted Claims are also directed to conveying

information relating to the object location events to one or more computing devices which may be

associated with corresponding identification codes of one or more users. (Id. at 2:16-19.)

    51.     According to one embodiment, an object location event can relate to information about

a location of an object and information about a zone that is defined by a user. (Id. at 2:23-25.) In

another embodiment, information about a location can be derived from a location information

source that is associated with an object and the object location event may occur by satisfaction of

a defined relationship or condition between an object location information and user-defined zone

information. (Id. at 2:26-31.)

    52.     Providing computerized location tracking systems with systems, devices and methods

in the manner claimed in the Patents-in-Suit solved challenges over the techniques and systems

known in the art at the time. Thus, the claims of the Patents-in-Suit contain inventive concepts,

being both novel and unconventional, which are sufficient to render the Asserted Claims to be

patent eligible.

    53.     In particular, prior to the priority date of the Patents-in-Suit, in systems, such as

traditional location tracking systems, information about the mere location of a device might be

conveyed but without the correlation of events with location of objects and the conveyance of

information about such events to computing devices. (Id. at 1:55-60.)




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   54.     The Patents-in-Suit overcame these disadvantages by, for example, describing and

enabling systems, devices and methods for delivering information about a location that is derived

from a location information source that is associated with an object and the object location event

that may occur by satisfaction of a defined relationship or condition between an object location

information and user-defined zone information (id. at 2:26-31), and conveying information relating

to the object location events to one or more computing devices which may be associated with

corresponding identification codes of one or more users (id. at 2:16-19).

   55.     The inventions of the Patents-in-Suit resolve technical problems related to interactive

location tracking technology. For example, the inventions allow remotely located parties to

interact in a computerized environment in real time with one or more users, which, on information

and belief, is exclusively implemented using computer technology. (id. at 17:9-57).

   56.     The claims of the Patents-in-Suit do not merely recite the performance of some method

known from the pre-Internet world along with the requirement to perform it on the Internet.

Instead, the claims of the Patents-in-Suit recite inventive concepts that are rooted in computerized

location tracking system technology and overcome problems specifically arising in the realm of

computerized location tracking system technologies. (id. at 1:21-59).

   57.     The technology claimed in the Patents-in-Suit does not preempt all ways of using

location tracking system technology, nor preempt the use of any well-known location tracking

technology, nor preempt any other well-known or prior art technology.

   58.     The Asserted Claims are not directed to any general or well-known “method of

organizing human activity,” “fundamental economic practice long prevalent in our system of

commerce,” nor are any of the claims “a building block of the modern economy.”




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    59.      The Patents-in-Suit do not take a well-known or established business method or

process and apply it to a general-purpose computer. Instead, the specific systems and processes

described in the Patents-in-Suit have no direct corollary to a process that predates the advent of

the Internet.

    60.      The Asserted Claims are directed toward a solution rooted in computer technology and

uses technology, unique to computers and networks, to overcome problems specifically arising in

the realm of computerized location tracking technologies.

    61.      The Asserted Claims are not directed at a mere mathematical relationship or formula.

    62.      The Asserted Claims cannot be performed by a human, in the human mind, or by pen

and paper.

    63.      Accordingly, each claim of the Patents-in-Suit recites a combination of elements

sufficient to ensure that each claim, in practice, amounts to significantly more than a claim on an

ineligible concept.

                        PERDIEM’S PATENT LITIGATION HISTORY

    64.      The eight patents asserted here each claim priority to U.S. Provisional Patent

Application No. 60/752,879, filed on December 23, 2005.

    65.      PerDiem owns other, non-asserted related patents that share a patent specification with

the asserted patents and claim priority to the same provisional application, Serial No. 60/752,879.

Several of the related PerDiem patents, both asserted and non-asserted, have been subject to

extensive federal court litigations in various districts.

    66.      Several of the non-asserted related PerDiem patents have been subject to extensive

federal court litigations in the Eastern District of Texas (“the EDTX Litigations”) against eleven

companies, each of which settled with PerDiem after the filing of thirteen Inter Partes Review

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(IPR) petitions (“the EDTX-related IPRs”) challenging the validity of various of PerDiem’s patent

claims. All settlements in these EDTX Litigations resulted in licensing agreements in which

PerDiem was compensated.        Furthermore, all the prior art that has been recited in an asserted

ground in any of the thirteen EDTX-related IPRs was submitted for consideration by the USPTO

in the prosecution history of the Patents-in-Suit.

   67.      PerDiem is the owner of all right, title and interest in the Patents-in-Suit, including the

right to bring patent enforcement actions for damages. The assignment to PerDiem of ownership

of the Patents-in-Suit was recorded with the United States Patent & Trademark Office (“USPTO”)

at Reel 035620, Frame 0088 of the USPTO assignment records. The recorded assignment

references all subsequent related applications of the parent patents listed on the recorded

assignment, thereby encompassing the Patents-in-Suit.

   68.      During one previous Litigation, the court issued a Claim Construction Memorandum

and Order attached hereto as Exhibit H construing several terms relevant to this action.

PerDiemCo LLC v. Industrack LLC et al., No. 2:15-cv-727-JRG-RSP (July 7, 2016) at Dkt. 107.

The Patents-in-Suit in this action have the same ownership and specification as those at issue in

the EDTX.

   69.      In the previous Litigation, the court adopted the R&R attached hereto as Exhibit I,

confirming that the claims at issue contain eligible subject matter under 35 U.S.C. §101 and that

the specification supports the claims under 35 U.S.C. §112. PerDiemCo LLC v. Industrack LLC

et al., No. 2:15-cv-727-JRG-RSP (September 29, 2016) at DKT 233

   70.      During another previous Litigation, the court issued a Claim Construction

Memorandum and Order attached hereto as Exhibit J construing several terms relevant to this




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action. PerDiemCo LLC v GPS LOGIC, LLC, et al., No. 2:15-cv-1216-JRG-RSP (July 27, 2016,)

at Dkt. 155.

   71.        During this previous Litigation, the court issued an R&R attached as Exhibit K holding

the specification satisfies the written description and enablement requirement. PerDiemCo LLC v

GPS LOGIC, LLC, et al., No. 2:15-cv-1216-JRG-RSP (July 27, 2016,) at Dkt. 272.

   72.         NexTraq’s accused products and services infringe one or more claims of the Patents-

in-Suit (Exhibits A through G) as set forth in detail in the attached claim charts (Exhibits A-1

through G-1) as indicated below.

                             THE ACCUSED INSTRUMENTALITIES

   73.        NexTraq offers tracking products and services (the Accused Instrumentalities),

including but not limited to NexTraq® Fleet Tracking solution (https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides data to

NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use

in various platforms and solutions that support:


         1.       NexTraq®’s Fleet Visibility and Productivity products, services and solutions

         which are used for vehicle tracking (https://www.nextraq.com/services/vehicle-tracking/),

         asset    tracking   https://www.nextraq.com/services/asset-tracking/),   geo-fencing    and

         mapping     (https://www.nextraq.com/services/geofencing-mapping/),      real-time     alerts

         (https://www.nextraq.com/services/real-time-alerts/),                                sensors

         (https://www.nextraq.com/services/sensors/) and integration with third-party platforms,

         solutions and/or applications (https://www.nextraq.com/services/integration/);

         2.       NexTraq® View™ and NexTraq® Connect™ mobile apps which are used by

         mobile workforce (https://www.nextraq.com/services/mobile-apps/);
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          3.      NexTraq® Fleet Defender (https://www.nextraq.com/services/fleet-defender/) and

          NexTraq® Dashcam™ (https://www.nextraq.com/services/dashcam/) which are used for

          drive safety;


          4.      NexTraq® Driver ID, which is used for Automatic Driver Assignment

          (https://www.nextraq.com/services/automatic-driver-assignment/); or


          5.      NEXTRAQ® ELD for iOS® and Android® tablets and smartphones which are

          used for ELD Compliance (https://www.nextraq.com/services/eld-compliance/).

    74.        More specifically, NexTraq makes, uses, sells, offers for sale, and/or imports at least

the Accused Instrumentalities, each of which supports the ability to monitor and report vehicle

fleet activity.

    75.        On information and belief, NexTraq is a for-profit entity owned by Groupe Michelin

of France. Moreover, NexTraq, its employees and/or agents make, use, sell, offer to sell, import,

and/or provide and/or cause to be used the Accused Instrumentalities for NexTraq’s partners and

customers, leading to direct or indirect revenues and profit. On information and belief, without

the availability of infringing tools such as the Accused Instrumentalities, NexTraq would be at a

disadvantage in the marketplace and would generate less revenue and profit overall.

                       COUNT I – INFRINGEMENT OF THE ’941 PATENT

    76.        Paragraphs 1 through 75 are incorporated by reference as if fully set forth herein.

    77.        NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’941 patent either literally and/or under the doctrine of

equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An


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exemplary claim chart detailing the correspondence of every element of claims 1, 3, 4, 7, 8, 9, 11,

12, 19 of the ’941 patent with features of the Accused Instrumentalities is attached hereto as

Exhibit A-1 and incorporated by reference.

   78.     Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’941 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’941 patent.

   79.     NexTraq was made aware of the ’941 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   80.     Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’941 patent.

   81.     NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the accused products, for their intended purpose

to infringe the ’941 patent, with instructions as to the use of that product and guidance as to the

specific steps that must be taken to utilize that product, including the provision of interactive data

fields, such as through NexTraq’s Fleet Tracking software (see User Guide at

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https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf,

last accessed and downloaded December 6, 2022.), all with the knowledge and intent to encourage

and facilitate infringement through the dissemination of the Accused Instrumentalities and/or the

creation and dissemination of documentation and technical information to customers and

prospective customers related to the Accused Products and Services, including the product

literature described in Exhibit A-1, attached hereto.

   82.     In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate NexTraq’s Fleet Tracking

software     (see     FleetOutlook®        User       Guide     at    https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf,               last   accessed     and

downloaded December 6, 2022) in a way that infringes at least one claim of the ’941 patent.

   83.     Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to, and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’941 patent, including at least claims 1, 3, 4, 7, 8, 9, 11,

12, 19 under 35 U.S.C. § 271(c), by, for example, selling and/or offering for sale products and

services in the United States, including NexTraq’s Fleet Tracking software (see User Guide at

https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf,

last accessed and downloaded December 6, 2022) knowing that those products constitute a

material part of the inventions of the ’941 patent, knowing that those products are especially made




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or adapted to infringe the ’941 patent, and knowing that those products are not staple articles of

commerce suitable for substantial non-infringing use.

   84.      PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’941

patent.

   85.      From the time of notice, NexTraq has willfully infringed the ’941 patent.

   86.      The conduct by NexTraq in infringing the ’941 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   87.      PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’941 patent (Exhibit A-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                   COUNT II – INFRINGEMENT OF THE ’874 PATENT

   88.       Paragraphs 1 through 87 are incorporated by reference as if fully set forth herein.

   89.      NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’874 patent either literally and/or under the doctrine of

equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An

exemplary claim chart detailing the correspondence of every element of claims 11 and 44-5 of the

’874 patent with features of The Accused Instrumentalities is attached hereto as Exhibit B-1 and

incorporated by reference.




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   90.     Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’874 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’874 patent.

   91.     NexTraq was made aware of the ’874 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   92.     Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’874 patent.

   93.     NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the Accused Instrumentalities, for their intended

purpose to infringe the ’874 patent, with instructions as to the use of that product and guidance as

to the specific steps that must be taken to utilize that product, including location tracking system,

application and/solutions, based for example, on NexTraq’s web based solution (see,

https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

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downloaded December 5, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of documentation and technical information to customers and prospective customers

related to the Accused Instrumentalities, including the product literature described in Exhibit B-1,

attached hereto.

   94.     In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate NexTraq’s Fleet Tracking

system, application and/solutions, based for example, on NexTraq’s web based solution (see,

https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022) in a way that infringes at least one claim of the ’874 patent.

   95.     Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to, and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’874 patent, including at least claims 11 and 44-45, under

35 U.S.C. § 271(c), by, for example, selling and/or offering for sale products and services in the

United States, including NexTraq’s location tracking system, application and/solutions, based for

example,    on     NexTraq’s     web     based     solution   (see,   https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

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downloaded December 6, 2022) knowing that those products constitute a material part of the

inventions of the ’874 patent, knowing that those products are especially made or adapted to

infringe the ’874 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

   96.      PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’874

patent.

   97.      From the time of notice, NexTraq has willfully infringed the ’874 patent.

   98.      The conduct by NexTraq in infringing the ’874 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   99.      PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim charts for the ’874 patent (Exhibit B-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                   COUNT III – INFRINGEMENT OF THE ’198 PATENT

   100.     Paragraphs 1 through 99 are incorporated by reference as if fully set forth herein.

   101.     NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’198 patent either literally and/or under the doctrine of

equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An

exemplary claim chart detailing the correspondence of every element of claims 1, 7, 12 of the ’198




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patent with features of NexTraq’s Accused Instrumentalities is attached hereto as Exhibit C-1 and

incorporated by reference.

    102.    Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’198 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’198 patent.

    103.    NexTraq was made aware of the ’198 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

    104.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’198 patent.

    105.    NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the Accused Instrumentalities, for their intended

purpose to infringe the ’198 patent, with instructions as to the use of that product and guidance as

to the specific steps that must be taken to utilize that product, including the provision of interactive

data fields, such as through NexTraq’s location tracking system, application and/solutions, based

for example, on NexTraq’s web based solution (see, https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Products and Services and/or the creation

and dissemination of documentation and technical information to customers and prospective

customers related to the Accused Instrumentalities, including the product literature described in

Exhibit C-1, attached hereto.

   106.     In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with instructions on how to operate the Accused Instrumentalities, including

location-tracking system, application and solutions, based on NexTraq’s web-based solution

(https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

and NexTraq’s Web Services (http://www.discretewireless.com/resources/APIReference.pdf), last

accessed and downloaded December 6, 2022) in a way that infringes at least one claim of the ’198

patent.

   107.     Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’198 patent, including at least claims 1, 7 and 12, under

35 U.S.C. § 271(c), by, for example, selling and/or offering for sale products and services in the

United States, including NexTraq’s location tracking system, application and/solutions, based for

example,     on    NexTraq’s     web     based     solution   (see,   https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022. knowing that those products constitute a material part of the

inventions of the ’198 patent, knowing that those products are especially made or adapted to

infringe the ’198 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

   108.     PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’198

patent.

   109.     From the time of notice, NexTraq has willfully infringed the ’198 patent.

   110.     The conduct by NexTraq in infringing the ’198 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   111.     PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’198 patent (Exhibit C-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                   COUNT IV – INFRINGEMENT OF THE ’789 PATENT

   112.     Paragraphs 1 through 111 are incorporated by reference as if fully set forth herein.

   113.     NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’789 patent either literally and/or under the doctrine of

equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An


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exemplary claim chart detailing the correspondence of every element of claims 1, 12, 14, 16 of the

’789 patent with a feature of NexTraq’s Accused Product and Services is attached hereto as Exhibit

D-1and incorporated by reference.

   114.    Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’789 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’789 patent.

   115.    NexTraq was made aware of the ’789 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   116.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’789 patent.

   117.    NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the Accused Instrumentalities, for their intended

purpose to infringe the ’789 patent, with instructions as to the use of that product and guidance as

to the specific steps that must be taken to utilize that product, including NexTraq’s web based

solution                             (see,                             https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of documentation and technical information to customers and prospective customers

related to the Accused Instrumentalities, including the product literature described in Exhibit D-1,

attached hereto.

   118.    In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate including NexTraq’s location

tracking system, application and/solutions, based for example, on NexTraq’s web-based solution

(see,https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022) in a way that infringes at least one claim of the ’789 patent.

   119.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’789 patent, including at least claims 1, 12, 14 and 16,

under 35 U.S.C. § 271(c), by, for example, selling and/or offering for sale products and services

in the United States, including NexTraq’s location tracking system, application and/solutions,

based for example, on NexTraq’s web-based solution (see, https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), last accessed and

downloaded December 6, 2022. knowing that those products constitute a material part of the

inventions of the ’789 patent, knowing that those products are especially made or adapted to

infringe the ’789 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

   120.     PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’789

patent.

   121.     From the time of notice, NexTraq has willfully infringed the ’789 patent.

   122.     The conduct by NexTraq in infringing the ’789 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   123.     PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’789 patent (Exhibit D-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                    COUNT V – INFRINGEMENT OF THE ’364 PATENT

   124.      Paragraphs 1 through 123 are incorporated by reference as if fully set forth herein.

   125.     NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’364 patent either literally and/or under the doctrine of

equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An


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exemplary claim chart detailing the correspondence of every element of claim 3 of the ’364 patent

with features of NexTraq’s Accused Instrumentalities is attached hereto as Exhibit F-1 and

incorporated by reference.

   126.    Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’364 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’364 patent.

   127.    NexTraq was made aware of the ’364 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   128.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’364 patent.

   129.    NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the Accused Instrumentalities, for their intended

purpose to infringe the ’364 patent, with instructions as to the use of that product and guidance as

to the specific steps that must be taken to utilize that product, including NexTraq’s web based

solution                             (see,                             https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf, last accessed and

downloaded December 6, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of documentation and technical information to customers and prospective customers

related to the Accused Instrumentalities, including the product literature described in Exhibit E-1,

attached hereto.

    130.    In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate including NexTraq’s location

tracking system, application and/solutions, based for example, on NexTraq’s web-based solution

(see,                                                                 https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf, last accessed and

downloaded December 6, 2022) in a way that infringes at least one claim of the ’364 patent.

    131.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to, and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’364 patent, including at least claim 3, under 35 U.S.C. §

271(c), by, for example, selling and/or offering for sale products and services in the United States,

including NexTraq’s location tracking system, application and/solutions, based for example, on

NexTraq’s          web       based        solution        (see,       https://www.nextraq.com/wp-

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content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), knowing that those products constitute a material part of the

inventions of the ’364 patent, knowing that those products are especially made or adapted to

infringe the ’364 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

   132.     PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’364

patent.

   133.     NexTraq was made aware of the ’364 patent and its infringement thereof at least as

early as the filing of this Complaint.

   134.     From the time of notice, NexTraq has willfully infringed the ’364 patent.

   135.     The conduct by NexTraq in infringing the ’364 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   136.     PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’364 patent (Exhibit E-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                   COUNT VI – INFRINGEMENT OF THE ’809 PATENT

   137.     Paragraphs 1 through 136 are incorporated by reference as if fully set forth herein.

   138.     NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’809 patent either literally and/or under the doctrine of


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equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An

exemplary claim chart detailing the correspondence of every element of claims 1-5 of the ’809

patent with features of NexTraq’s Accused Instrumentalities is attached hereto as Exhibit F-1 and

incorporated by reference.

   139.    Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’809 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’809 patent.

   140.    NexTraq was made aware of the ’809 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   141.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’809 patent.

   142.    NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the accused products, for their intended purpose

to infringe the ’809 patent, with instructions as to the use of that product and guidance as to the

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specific steps that must be taken to utilize that product, including NexTraq’s web based solution

(see,                                                                 https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of documentation and technical information to customers and prospective customers

related to the Accused Instrumentalities, including the product literature described in Exhibit F-1,

attached hereto.

    143.   In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate including NexTraq’s location

tracking system, application and/solutions, based for example, on NexTraq’s web-based solution

(see,                                                                 https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), in a way that infringes at least one claim of the ’809 patent.

    144.   Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to, and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’809 patent, including at least claims 1-5, under 35 U.S.C.

§ 271(c), by, for example, selling and/or offering for sale products and services in the United

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States, including NexTraq’s location tracking system, application and/solutions, based for

example,     on   NexTraq’s      web     based     solution   (see,   https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), knowing that those products constitute a material part of the

inventions of the ’809 patent, knowing that those products are especially made or adapted to

infringe the ’809 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

   145.     PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’809

patent.

   146.     From the time of notice, NexTraq has willfully infringed the ’809 patent.

   147.     The conduct by NexTraq in infringing the ’809 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

   148.     PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’809 patent (Exhibit F-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                  COUNT VII – INFRINGEMENT OF THE ’038 PATENT

   149.     Paragraphs 1 through 148 are incorporated by reference as if fully set forth herein.

   150.     NexTraq directly infringes and continues to directly infringe under 35 U.S.C. § 271(a)

at least one or more claims of the ’038 patent either literally and/or under the doctrine of


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equivalents, by, among other things, making, using, importing, selling, offering for sale and/or

providing and/or causing to be used in the United States the Accused Instrumentalities. An

exemplary claim chart detailing the correspondence of every element of claims 1-5 of the ’038

patent with features of NexTraq’s Accused Instrumentalities is attached hereto as Exhibit G-1 and

incorporated by reference.

   151.    Third parties, including NexTraq’s customers, have directly infringed, and continue to

directly infringe under 35 U.S.C. § 271(a), one or more claims of the ’038 patent, either literally

and/or under the doctrine of equivalents, by making, using, importing, selling, and/or offering for

sale the Accused Instrumentalities in the United States so as to infringe one or more claims of the

’038 patent.

   152.    NexTraq was made aware of the ’038 patent and its infringement through at least the

filing and service or notice of filing of this Complaint.

   153.    Upon information and belief, since at least the time NexTraq received notice, NexTraq

has induced infringement and continues to induce infringement under 35 U.S.C. § 271(b).

NexTraq has actively, knowingly, and intentionally induced, and with specific intent or conscious

blindness, actively aided and abetted others to infringe, and continues to actively, knowingly, and

intentionally induce others to infringe, including but not limited to each of NexTraq’s partners,

clients, customers, and end users, whose use of the Accused Instrumentalities constitutes direct

infringement of at least one claim of the ’809 patent.

   154.    NexTraq induces infringement by selling or otherwise supplying and supporting the

Accused Instrumentalities in the United States with the knowledge and intent that third parties will

use, sell, and/or offer for sale in the United States the accused products, for their intended purpose

to infringe the ’038 patent, with instructions as to the use of that product and guidance as to the

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specific steps that must be taken to utilize that product, including NexTraq’s web based solution

(see,                                                                 https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), all with the knowledge and intent to encourage and facilitate

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of documentation and technical information to customers and prospective customers

related to the Accused Instrumentalities, including the product literature described in Exhibit G-1,

attached hereto.

    155.   In particular, NexTraq’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by NexTraq or providing instruction

materials, training, and services regarding the Accused Instrumentalities which actively induce a

user of the NexTraq system to infringe the Asserted Claims. For example, NexTraq provides

potential users with detailed instruction materials on how to operate including NexTraq’s location

tracking system, application and/solutions, based for example, on NexTraq’s web-based solution

(see,                                                                 https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), in a way that infringes at least one claim of the ’038 patent.

    156.   Upon information and belief, since at least the time NexTraq received notice, NexTraq

has contributed to, and continues to contribute to, the infringement by third parties, including their

customers, of one or more claims of the ’038 patent, including at least claims 1-5, under 35 U.S.C.

§ 271(c), by, for example, selling and/or offering for sale products and services in the United

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States, including including NexTraq’s location tracking system, application and/solutions, based

for    example,    on   NexTraq’s        web-based   solution   (see,   https://www.nextraq.com/wp-

content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf) and NexTraq’s Web

Services (http://www.discretewireless.com/resources/APIReference.pdf), (last accessed and

downloaded December 6, 2022), knowing that those products constitute a material part of the

inventions of the ’038 patent, knowing that those products are especially made or adapted to

infringe the ’038 patent, and knowing that those products are not staple articles of commerce

suitable for substantial non-infringing use.

      157.   PerDiem has been and continues to be damaged by NexTraq’s infringement of the ’038

patent.

      158.   From the time of notice, NexTraq has willfully infringed the ’038 patent.

      159.   The conduct by NexTraq in infringing the ’038 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

      160.   PerDiem reserves the right to modify its infringement theories as discovery progresses

in this case and is not to be estopped for purposes of its infringement contentions or any claim

construction, express or implied, set forth within the attached claim charts. PerDiem intends the

claim chart for the ’038 patent (Exhibit G-1) only to satisfy the notice requirements of Rule 8(a)(2)

of the Federal Rule of Civil Procedure. The claim chart does not represent PerDiem’s preliminary

or final infringement contentions or preliminary or final claim construction positions.

                                           JURY DEMAND

      161.   Pursuant to Rule 38 of the Federal Rules of Civil Procedure, PerDiem demands a trial

by jury on all issues triable as such.




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                                      PRAYER FOR RELIEF

        WHEREFORE, PerDiem demands judgment for itself and against NexTraq as follows:

        A.      An adjudication that NexTraq has infringed each of the Patents-in-Suit;

        B.      An award of damages to be paid by NexTraq adequate to compensate PerDiem for

NexTraq’s past infringement of the Patents-in-Suit, and any continuing or future infringement

through the date such judgment is entered, including interest, costs, expenses and an accounting

of all infringing acts including, but not limited to, those acts not presented at trial;

        C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

PerDiem’s reasonable attorneys’ fees; and

        D.      An award to PerDiem of such further relief at law or in equity as the Court deems

just and proper.




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Dated: January 13, 2023           Respectfully submitted,



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                                  Attorneys for Plaintiff,
                                  PerDiemCo LLC




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